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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE

James Harper

      v.
                                           Case No. 20-cv-771-JD
Internal Revenue Service,
Commissioner, et al.


                                    JUDGMENT


      In accordance with the Order by District Judge Joseph A.

DiClerico, Jr., dated March 23, 2021, judgment is hereby entered.


                                           By the Court:


                                           /s/ Daniel J. Lynch
                                           Daniel J. Lynch
                                           Clerk of Court



Date: March 23, 2021

cc:   Counsel of Record
